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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               Case No. 18-cv-61469-BLOOM/Valle
 TRITON II, LLC,

        Plaintiff,

 v.

 JOHN RANDAZZO and CAPRICE TURNER,

       Defendants.
 _________________________/


                         ORDER OF DISMISSAL OF COUNT 2 ONLY

        THIS CAUSE is before the Court upon the Notice of Voluntary Dismissal of Count 2

 Only, ECF No. [4] (“Notice”), filed on July 3, 2018. The Court has carefully reviewed the

 Notice and the record, and is otherwise fully advised in the premises.       Accordingly, it is

 ORDERED AND ADJUDGED as follows:

              1. The Notice, ECF No. [4] is APPROVED and ADOPTED;

              2. COUNT 2 is DISMISSED WITHOUT PREJUDICE;

              3. This case shall remain OPEN and all deadlines remain in place.

        DONE AND ORDERED in Chambers at Miami, Florida, this 5th day of July, 2018.




                                                        _________________________________
                                                        BETH BLOOM
                                                        UNITED STATES DISTRICT JUDGE
 Copies to:

 Counsel of Record
